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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MAUI JIM, INC., an Illinois Corporation     )
                                            )   Case No. 1:16-cv-09788
                 Plaintiff,                 )
                                            )   District Judge Aspen
         v.                                 )   Magistrate Judge Gilbert
                                            )
SMARTBUY GURU ENTERPRISES, a                )   DEFENDANTS’ MOTION FOR
Cayman Island Company, MOTION               )   RECONSIDERATION OF ECF 358 WITH
GLOBAL LTD., a Hong Kong Company,           )   RESPECT TO COUNTS II, IV, V, AND VI OF
SMARTBUYGLASSES SOCIETÁ A                   )   DEFENDANTS’ COUNTERCLAIM OR, IN
RESPONSABILITÁ LIMITATA, an                 )   THE ALTERNATIVE, FOR DISMISSAL OF
Italian Company, SMARTBUYGLASSES            )   PLAINTIFF’S TORTIOUS
OPTICAL LIMITED, a Hong Kong                )   INTERFERENCE CLAIM
company,                                    )
                                            )
                 Defendants.                )

         Defendants SmartBuy Guru Enterprises, Motion Global Ltd., SmartBuyGlasses Societá a

Responsabilitá        Limitata,   and   SmartBuyGlasses      Optical       Limited   (collectively

“SmartBuyGlasses”) respectfully request under Fed. R. Civ. P. 59(e) that this Court reconsider

its Memorandum, Opinion, and Order (ECF No. 358) with respect to Counts II, IV, V, and VI of

SmartBuyGlasses’ counterclaim. SmartBuyGlasses further moves, in the alternative, to dismiss

Plaintiff’s tortious interference claim (Count VI of the Second Amended Complaint) on the

grounds of forum non conveniens and international comity should this Court maintain its

dismissal of Count IV of the counterclaim. In support of its motion, SmartBuyGlasses states as

follows:

         1.      SmartBuyGlasses respectfully submits that this Court committed the following

manifest errors of law when it dismissed Counts IV, V, VI and part of Count II of

SmartBuyGlasses’ counterclaim, as more fully explained in the accompanying memorandum:

                 a.      this Court improperly dismissed SmartBuyGlasses’ defamation claim

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                     related to the press release because the Court failed to properly apply the

                     republication rule and erroneously believed republishing the allegations

                     from the complaint was immunized by the litigation privilege or fair report

                     privilege. The innocent construction rule does not protect Maui Jim’s

                     defamatory statements contained in its press release because Maui Jim has

                     no privilege to repeat its defamatory allegations outside of the litigation.

               b.    this Court applied an incorrect forum non conveniens standard to dismiss

                     SmartBuyGlasses’ claim under the Treaty on the Functioning of the

                     European Union (“TFEU”) and misconstrued the principle of international

                     comity by overlooking – among other things – that Maui Jim chose this

                     forum and that the same issues will necessarily be litigated in connection

                     with Maui Jim’s tortious inference claim; and

               c.    this Court (i) misapprehended SmartBuyGlasses’ Cartwright Act claim

                     because SmartBuyGlasses pled injury from Maui Jim’s termination of

                     those suppliers who violate the pricing policy to sell to SmartBuyGlasses

                     and (ii) failed to properly interpret the Ninth Circuit’s holding in

                     Knevelbaard Dairies v. Kraft Foods, Inc. 232 F.3d 979, 988 (9th Cir.

                     2000), with respect to antitrust standing and injury.

         2.    Moreover, should this Court maintain its dismissal of SmartBuyGlasses’ TFEU

claim, SmartBuyGlasses moves – in the alternative – to dismiss Count VI of Maui Jim’s Second

Amended Complaint (tortious interference) because it relies on a determination of the same law

and facts upon which the Court based its dismissal of the TFEU claim.

         WHEREFORE, for the reasons set forth herein and in SmartBuyGlasses’ memorandum



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in support of this motion, SmartBuyGlasses respectfully requests that this Court reconsider under

Fed. R. Civ. P. 59(e) its dismissal of Counts IV (Cartwright Act), V (California UCL), and VI

(TFEU) of SmartBuyGlasses’ counterclaim and the dismissal in part of Count II (defamation

relating to the press release) of the counterclaim. SmartBuyGlasses requests, in the alternative,

that this Court dismiss Count VI of Maui Jim’s Second Amended Complaint should the Court

maintain its dismissal of SmartBuyGlasses’ TFEU claim.

Dated: June 2, 2019                           Respectfully submitted,

                                             SMARTBUY GURU ENTERPRISES, MOTION
                                             GLOBAL    LTD.,  SMARTBUYGLASSES
                                             SOCIETÁ A RESPONSABILITÁ LIMITATA,
                                             SMARTBUYGLASSES OPTICAL LIMITED

                                             By: /s/ Stephen J. Rosenfeld
                                             One of their attorneys

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                                 CERTIFICATE OF SERVICE

         This is to certify that on June 2, 2019, Stephen J. Rosenfeld, an attorney, caused to be

served a true and correct copy of the foregoing document via electronic mail on all counsel of

record who have consented to electronic service.

                                                     /s/ Stephen J. Rosenfeld




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